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     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Research and Writing Attorney
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     MUZDHA KHALIL
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. Cr. S. 09-0258-GEB
                                     )
14                  Plaintiff,       )     STIPULATION AND ORDER TO CONTINUE
                                     )     MOTION TO STAY ENFORCEMENT OF
15        v.                         )     RELEASE CONDITION AND TO CONTINUE
                                     )     HEARING ON DEFENDANT’S MOTION TO
16   MUZDHA KHALIL,                  )     AMEND RELEASE ORDER
                                     )
17                  Defendant.       )     Date: June 11, 2010
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Garland E. Burrell, Jr.
19
          It is hereby stipulated and agreed to between the United States of
20
     America through SEAN FLYNN, Assistant U.S. Attorney, and defendant,
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     MUZDHA KHALIL, by and though his counsel, RACHELLE BARBOUR, Assistant
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23   Federal Defender that the motion hearing set for April 9, 2010, be

24   continued to June 11, 2010 at 9:00 a.m.       The reason for the continuance

25   is that the Ninth Circuit’s ruling on the DNA testing condition
26   addressed by this motion is still pending.        Accordingly, this matter
27   should be continued until after the Ninth Circuit rules.
28
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1         The pendency of this motion excludes time under the Speedy Trial

2    Act, 18 U.S.C. § 3161(h)(1)(F) (Local Code E).

3    DATED:    April 8, 2010             Respectfully submitted,
4                                        DANIEL J. BRODERICK
                                         Federal Defender
5
6                                        /s/ RACHELLE BARBOUR
                                         RACHELLE BARBOUR
7                                        Research and Writing Specialist
                                         Attorney for Defendant
8                                        MUZDHA KHALIL

9    DATED: April 8, 2010                BENJAMIN B. WAGNER
                                         United States Attorney
10
                                         /s/ RACHELLE BARBOUR for
11                                       SEAN FLYNN
12                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
13
14                                        O R D E R

15
16        IT IS SO ORDERED.
17
     Dated:    April 9, 2010
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19
                                         GARLAND E. BURRELL, JR.
20                                       United States District Judge
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